       Case 3:16-md-02741-VC Document 17569 Filed 12/04/23 Page 1 of 7



JOHN J. ROSENTHAL
Winston & Strawn LLP
jrosenthal@winston.com
1901 L Street NW
Washington, DC 20036
Tel: (202) 282-5000
Fax: (202) 282-5100

JEFF WILKERSON
Winston & Strawn LLP
jwilkerson@winston.com
300 S. Tryon Street, 16th Floor
Charlotte, NC 28202
Tel: (704) 350-7714
Fax: (704) 350-7800

Attorneys for Defendants

                             UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA


 IN RE: ROUNDUP PRODUCTS                   MDL No. 2741
 LIABILITY LITIGATION
                                           Case No. 3:16-md-02741-VC

 This document relates to:                 MONSANTO COMPANY AND BAYER
                                           CORPORATION’S REQUEST FOR
 Jonas Perez-Hernandez v. Monsanto Co.,    JUDICIAL NOTICE OF EXHIBITS TO
 Case No. 3:23-cv-04946-VC                 WILKERSON DECLARATION IN SUPPORT
                                           OF MOTION TO DISMISS

                                           Hon. Vince G. Chhabria
        Case 3:16-md-02741-VC Document 17569 Filed 12/04/23 Page 2 of 7




                                           RECITALS
       Under Federal Rule of Evidence 201, Defendants Monsanto Company and Bayer

Corporation (collectively, “Defendants”) request that the Court take judicial notice of exhibits to

the declaration of Jeff Wilkerson (the “Wilkerson Declaration”) in support of Monsanto’s Motion

to Dismiss.

           •   Documents Incorporated into the Complaint: The following exhibits are true

               and correct copies of documents that have been incorporated by Plaintiffs into their

               Complaint. Plaintiffs’ reliance on these documents, with reference to specific

               paragraphs in the Amended Complaint, is described in more detail in the Wilkerson

               Declaration:

                   o Ex. A: A September 16, 1999, e-mail from William F. Heydens to Mark A

                      Martens, et al.

                   o Ex. B: A September 2, 1999, e-mail from Alan G Wilson to Donna R

                      Farmer

                   o Ex. C: A February 5, 2015, e-mail from William F. Heydens to Michael

                      Koch, et al.

                   o Ex. D: A May 15, 2014, e-mail from Thomas M. Helscher to Samuel

                      Murphey

                   o Ex. E: A January 28, 2013, e-mail from Larry Kier to David Saltmiras

                   o Ex. F: A March 16, 2015, e-mail from Ross Gilbert to Daniel A Goldstein

                   o Ex. G: A document titled “Glyphosate: IARC” dated February 23, 2015

                   o Ex. H: An article by Gary M. Williams, et al., titled “A Review of the

                      Carcinogenic Potential of Glyphosate by Four Independent Expert Panels

                      and Comparison to the IARC Assessment”

                   o Ex. I: A “Correction” article by Gary M. Williams, et al.




                                                1
Case 3:16-md-02741-VC Document 17569 Filed 12/04/23 Page 3 of 7




  •   Publicly Available Information and Government Submissions: The Following

      exhibits are true and correct copies of judicially noticeable court filings, public

      documents, or government submissions.        Evidence of the documents’ public

      availability and/or status as public records or government submissions is provided

      in the Wilkerson Declaration.

         o Ex. A: A September 16, 1999, e-mail from William F. Heydens to Mark A

             Martens, et al.

         o Ex. B: A September 2, 1999, e-mail from Alan G Wilson to Donna R

             Farmer

         o Ex. C: A February 5, 2015, e-mail from William F. Heydens to Michael

             Koch, et al.

         o Ex. H: An article by Gary M. Williams, et al., titled “A Review of the

             Carcinogenic Potential of Glyphosate by Four Independent Expert Panels

             and Comparison to the IARC Assessment”

         o Ex. I: A “Correction” article by Gary M. Williams, et al.

         o Ex. J: An August 1, 2017, article from the New York Times titled

             “Monsanto Emails Raise Issues of Influencing Research on Roundup Weed

             Killer”

         o Ex. K: A March 16, 2017, article from USA Today titled “Emails Show

             Monsanto Tried to ‘Ghostwrite’ Research”

         o Ex. L: A March 15, 2017, article from the Wall Street Journal titled

             “Regulation of Monsanto’s ‘Roundup’ Herbicide Called Into Question by

             Emails”

         o Ex. M: A March 27, 2015, article from the Wall Street Journal titled “For

             Monsanto, a Season of Woes: Warning on Roundup Weed Killer Follows

             Low Crop Prices, Criticism of Biotech Food”




                                       2
Case 3:16-md-02741-VC Document 17569 Filed 12/04/23 Page 4 of 7




        o Ex. N: An April 10, 2015, article from the New Yorker titled “Roundup and

           Risk Assessment”

        o Ex. O: A March 20, 2015, article from AP News titled “Popular Weed

           Killer Deemed Probable Carcinogen by UN”

        o Ex. P: A March 21, 2015, article from US Newswire titled “Glyphosate

           Classified Carcinogenic by International Cancer Agency, Group Calls on

           U.S. to End Herbicide’s Use and Advance Alternatives”

        o Ex. Q: A March 21, 2015, article from the Huffington Post titled “Popular

           Weed-Killer Is Probably Carcinogenic, WHO”

        o Ex. R: A March 20, 2015, article from Mirror UK titled “Cancer Fear Over

           Lawn Weedkiller Commonly Used in British Parks and on Wheat”

        o Ex. S: A May 14, 2019, article from the Wall Street Journal titled “Roundup

           of Cancer Evidence”

        o Ex. T: A March 20, 2019, article from the Wall Street Journal titled “Jury

           Finds Bayer’s Roundup Weedkiller Caused Man’s Cancer”

        o Ex. U: A December 20, 2017, blog post by law firm Wisner Baum titled

           “50 San Francisco Roundup Lawsuits Filed Against Monsanto”

        o Ex. V: An April 4, 2019, article from Courthouse News Service titled

           “Judge Won’t Bar Targeted Ads in Roundup Cancer Trial”

        o Ex. W: An October 10, 2019, article from Texans for Law Reform titled

           “Seeing All Those Roundup Commercials? That’s Because Lawyers Have

           Spent $60M on Them This Year”

        o Ex. X: A May 22, 2018, article from the Guardian titled “Landmark Lawsuit

           Claims Monsanto Hid Cancer Danger of Weedkiller for Decades”

        o Ex. Y: A October 15, 2015, article from Reuters titled “U.S. Lawsuits Build

           Against Monsanto Over Alleged Roundup Cancer Link”




                                    3
        Case 3:16-md-02741-VC Document 17569 Filed 12/04/23 Page 5 of 7




                   o Ex. Z: The Complaint filed in Rolish v. Monsanto Company, No. 2:20-CV-

                      01340 (C.D. Cal. Feb. 10, 2020)

                   o Ex. AA: The First Amended Complaint filed in Ramirez v. Monsanto

                      Company, MDL No. 2741, No. 3:19-cv-02224 (June 24, 2020) by

                      Plaintiffs’ attorney Robert Lief

                   o Ex. BB: The Complaint filed in Applegate v. Monsanto Company, No. 3:18-

                      cv-03363-CV, 2018 U.S. Dist. Ct. Pleadings LEXIS 28521 (N.D. Cal. Jan.

                      17, 2018)

                   o Ex. CC: The Complaint filed in Johnson v. Monsanto Company, No. CGC-

                      16-550128 (Cal. Super. Ct. Jan 27, 2016)

                   o Ex. DD: The Complaint filed in Goodbred v. Monsanto Company, No.

                      3:16-CV-06010 (N.D. Cal. Sept. 7, 2016)

                   o Ex. EE: The Complaint filed in Fitzgerald v. Monsanto Company, No.

                      2:15-CV-05494 (E.D.N.Y. Sept. 22, 2015)

                   o Ex. FF: The Complaint filed in Patterson v. Monsanto Company, No. 3:16-

                      CV-00825 (S.D. Ill. July 20, 2016)

                   o Ex. GG: The Complaint filed in Perkins v. Monsanto Company, No. 8:16-

                      CV-01410 (C.D. Cal. July 29, 2016)
I.      Plaintiffs have incorporated documents by reference.
       Under the “incorporation by reference doctrine,” courts will take judicial notice of the full

text of documents referenced in a complaint. See No. 84 Employer Teamster Joint Council Pension

Trust Fund v. Am. W. Hldg. Corp., 320 F.3d 920, 925 n.2 (9th Cir. 2003) (considering “documents

submitted by Defendants that were referenced in the complaint and whose authenticity has not

been questioned” when reviewing an appeal of a motion to dismiss); In re CNET Networks, Inc.,

483 F. Supp. 2d 947, 953-54 (N.D. Cal. 2007) (considering “the full text of documents referenced

in [the] complaint” in deciding a motion to dismiss). This is true even when the plaintiff “fail[s]




                                                4
        Case 3:16-md-02741-VC Document 17569 Filed 12/04/23 Page 6 of 7




to attach those materials to the complaint.” Anderson v. Intel Corp. Inv. Pol’y Comm., 579 F.

Supp. 3d 1133, 1145 (N.D. Cal. 2022).

       The Complaint cites to and relies on the documents in Exhibits A-I, as shown in the

concurrently filed Wilkerson declaration. Plaintiffs have therefore incorporated these documents

into the complaint and the Court may consider them in deciding Monsanto’s Motion to Dismiss.
II.     The Court may take judicial notice of the public record and government
        submissions.
       Rule 201 permits a court to notice a fact “if it is not subject to reasonable dispute.” Fed.

R. Evid. 201(b). A fact is “not subject to reasonable dispute” if it is “generally known,” or “can

be accurately and readily determined from sources whose accuracy cannot reasonably be

questioned.” Fed. R. Evid. 201(b)(1)-(2). This includes matters of public record (Khoja v.

Orexigen Therapeutics, 899 F.3d 988, 999 (9th Cir. 2018)); “records[] and reports of government

bodies” (Nelson v. F. Hoffman-La Roche, 2022 WL 17259056, at *3 (N.D. Cal. Nov. 28, 2022));

“documents filed with public authorities” (Habelt v. iRhythm Techs., 2022 WL 971580, at *5 (N.D.

Cal. Mar. 31, 2022)); and filings in court proceedings that relate to “matters at issue” (Grivas v.

Metagenics, Inc., 2018 WL 6185977, at *2 (C.D. Cal. Jan. 4, 2018)). Moreover, “Courts may take

judicial notice of publications introduced to ‘indicate what was in the public realm at the time, not

whether the contents of those articles were in fact true.’” Von Saher v. Norton Simon Museum of

Art at Pasadena, 592 F.3d 954, 960 (9th Cir. 2010) (quoting Premier Growth Fund v. Alliance

Cap. Mgmt., 435 F.3d 396, 401 n. 15 (3d Cir.2006)).

       Exhibits A-C and Z-GG are court filings and are therefore judicially noticeable. Exhibits

H-Y are also judicially noticeable because they are all public news or academic articles, websites,

or government reports or submissions and are offered to indicate what was in the public realm at

the time. Thus, the Court should take judicial notice of these exhibits and consider them in

deciding Defendants’ Motion to Dismiss.




                                                 5
       Case 3:16-md-02741-VC Document 17569 Filed 12/04/23 Page 7 of 7




Dated: December 1, 2023

                                          By:    /s/ John J. Rosenthal

                                          JOHN J. ROSENTHAL
                                          Winston & Strawn LLP
                                          jrosenthal@winston.com
                                          1901 L Street NW
                                          Washington, DC 20036

                                          JEFF WILKERSON
                                          Winston & Strawn LLP
                                          jwilkerson@winston.com
                                          300 S. Tryon Street, 16th Floor
                                          Charlotte, NC 28202

                                          Counsel for Defendants




                                      6
